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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NORTH DAKOTA

SOUTHEASTERN DIVISION

ALIEN TECHNOLOGY CORP., a )
Delaware corporation, )
)

Plaintiff, ) Civil Action No. 3:06-CV-51
)
V. )
)

INTERMEC, INC., a Delaware corporation, ) Judge Rodney S. Webb
INTERMEC TECHNOLOGIES CORP.,a_ )
Delaware corporation, and INTERMEC IP) Magistrate Judge Karen K. Klemm
CORP., a Delaware corporation, )

)

)

Defendants.

DEFENDANTS’ RULE 7.1(B)(1) STATEMENT OF MATERIAL FACTS
IN SUPPORT OF THEIR OF THEIR MOTION TO DISMISS

Pursuant to Local Rule 7.1(B)(1), Defendants’ Intermec, Inc., Intermec Technologies
Corp., and Intermec IP Corp. submit the following concise statement of facts

1. Plaintiff, Alien, is incorporated in the state of Delaware and has its principal place
of business in Morgan Hill, California. First Amended Complaint for Declaratory Judgment
(“Am. Compl.”), attached to the Declaration of David Becker (“Becker Decl.’’) as Exhibit A, at §
2.

2. Alien “is a manufacturer of Radio Frequency Identification (“RFID”) products...”
a

3. Defendants, Intermec, Inc. (“Intermec”) and Intermec IP Corp. (“IIP”) are
incorporated under the laws of Delaware. Declaration of Kenneth Cohen (“Cohen Decl.”),
attached to Becker Decl. at Exhibit B, at Jf 8, 15.

4. Intermec Technologies Corp. (“ITC”) is imcorporated under the laws of

Washington. Cohen Decl. at ¥ 22.
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5. Intermec and ITC are headquartered in Everett Washington and Intermec IP is
headquartered in Henderson, Nevada. Cohen Decl.. at {¥ 8, 15, 22.

6. Intermec is a holding company. Cohen Decl.. at { 9.

7. Intermec does not manufacture or sell any products or sell any services. Cohen
Decl. at { 9.

8. Intermec does not have any customers in North Dakota or elsewhere. Cohen Decl.
at {{ 9, 10.

9. Intermec has no offices or employees located in North Dakota and does not own

any assets in North Dakota. Cohen Decl. at qq 9-11.

10. Intermec has never paid taxes in the State of North Dakota and has never filed suit

in that state. Cohen Decl. at {J 13, 14.

11. [IP is a wholly-owned subsidiary of ITC and the sole owner of the RFID patents-

in-suit. Cohen Decl. at J] 16, 22.

12. TIP’s sole business is to own patents, enforce them, and collect royalties. Cohen
Decl. at { 16.
13. IIP has no offices or employees in North Dakota and it has never paid taxes or

filed suit in that state. Cohen Decl. at fj 18, 20, 21.
14. | ITC is a wholly-owned subsidiary of Intermec. Cohen Decl. at ¥ 23.
15. ITC manufactures and ‘sells: automated identification” and “data collection
(“AIDC”) products, systems and related services, including RFID products, systems and

services. See Cohen Decl. at § 23.
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16. ITC does not manufacture any products in North Dakota; it has no offices or
employees and that state; it does not own any assets located in that states; and it never paid taxes
or filed suit in that state. Cohen Decl. at {ff 24, 25, 27, 30.

17. In its most recent fiscal year (2005), ITC sold products into and provided services
elsewhere for entities in North Dakota of less than $270,000, or .0571 percent of Intermec’s total
United States sales of $472,670,567 ($182,000 of these sales were to one customer and were
largely for services provided outside the state). Cohen Decl. at { 28.

18. None of the sales in North Dakota were of products based on RFID technology.
Cohen Decl. at ¥ 29.

19. During the Intermec analyst call of May 8, 2006 Intermec’s Senior Vice

President, Steve Winter, was asked the following question and gave the following answer:

Question

* * *

One question on RFID and royalty revenues on a go-forward basis. You have a
number of non-licensed companies out there selling products, some of which are
winning large size contracts,, How long can you wait before needing to step in
and enforce the Rapid Start program? .

Answer

* ok %*

It’s obviously disappointing if any customer were to do business with a supplier

_that is not licensed. But you know, we have consistently stated we will be _
pursuing infringers. We are putting together cases. We are looking at those who
are most disruptive to the industry right now. And basically, preparations are
underway with respect to unlicensed suppliers like Alien and others. And we
expect those enforcement actions by the end of the year, or within this year.

Transcript of the Intermec, Inc. Earning Conference Call, Dated May 8, 2006 (“Earnings Call

Tr.”), attached to Becker Decl. as Exhibit C, at pp. 11-12.
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20. Later in the call in response to another question Intermec’s Chairman and Chief

Executive Officer, Larry Brady added:

Question

In terms of the fact that you mentioned on this call that you might be taking some
legal action against folks that have not been signed up so far for Rapid Start at
some point during the year, could you give us some color as to what potential
impact on your SG&A line could be of taking such action, or whether similar to
the (indiscernible) settlements you might have it not impacting you expense line
in the near-term?

Answer

I think given the circumstances that we are currently looking at — that is, the
amazing propensity of people to take business well below cost, and the amazing
publicity which such actions receive — that we are apt to move in advance of
where we would have originally intended. And indeed, the limitation on when
we will take action now is more related to just the [wickets] that we have to go
through — that is, (indiscernible) product, and disassemble the product and
understand that infringement is occurring. Because we’ve got a certain
obligation, before we can just go out and willy nilly start filing lawsuits, to
demonstrate that there’s a cause of action. So that is the path that we are
currently on.

Earnings Call Tr. at pp. 15-16.
21. The statements of Mr. Winter and Mr. Brady were made in the State of
Washington. Cohen Decl. at § 7.

22. As of June 1, 2006 these are the only public statements of which Defendants are

_aware that were made by any. of the Defendants. concerning investigating a possible suit for. ___.

patent infringement against Alien. Cohen Decl. at 7.

23. On June 1, 2006 Alien filed a Complaint in the United States District Court for
the District of North Dakota seeking a declaratory judgment that its products do not infringe the
patents in suit. Alien’s Complaint for Declaratory Judgment, attached to Becker Decl. at Ex. D,

at 1.
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24.  Alien’s Complaint does not indicate which Alien products are being accused of

infringement by Defendants. See generally Am. Compl.

25. The Complaint does not include any allegation that Intermec has accused Alien of

infringing the specific patents in suit. See generally Am. Compl.

26. On June 16, 2006, Alien filed an Amended Complaint which is identical to its

original complaint except for the addition of ITC as a defendant. See Am. Compl.

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Dated: June 29, 2006

Respectfully Submitted,

INTERMEC, INC., INTERMEC TECHOLOGIES
CORP., and INTERMEC IP CORP.

By: s/ Ronald H. McLean
One of Its Attorneys

